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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION


  JAMES W. HOOVER, JR.,

                PLAINTIFF,
  v.                                               CASE NO. 3:17-CV-524-GNS

  WEBBANK, INC., ET AL.,

                DEFENDANTS.



         AGREED ORDER DISMISSING CLAIMS AGAINST WEBBANK WITH PREJUDICE

         Plaintiff James W. Hoover, Jr. and Defendant WebBank, Inc. agree that all

 Plaintiff’s claims against WebBank should be dismissed with prejudice, with each party to

 bear its own costs and attorney’s fees. The Court being otherwise sufficiently advised,

         IT IS HEREBY ORDERED that Plaintiffs’ claims against WebBank, Inc. are

 DISMISSED WITH PREJUDICE, with each party to bear its own costs and attorney’s

 fees.




                                                    Greg N. Stivers, Judge
                                                  United States District Court
                                                          April 9, 2018
